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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                              CRIMINAL NO. 10-207
VERSUS                                                SECTION AS@
ROLAND J. BOURGEOIS, JR.                              VIOLATION: 18 USC 245

                  RE-NOTICE OF SENTENCING (from 1/17/2019)

      PHOTO IDENTIFICATION REQUIRED TO ENTER THE BUILDING

Take Notice that this criminal case has been reset for Sentencing on February 14, 2019
at 2:00 p.m. before Judge Mary Ann Vial Lemmon,500 Poydras St., Courtroom C-414,
New Orleans, LA.

PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL
IMMEDIATELY   OUTSIDE   THE   AFORESAID    COURTROOM  FOR
EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.

                                              WILLIAM W. BLEVINS, CLERK
Date: December 11, 2018
                                              by: Erin Mouledous
TO:                                               Case Manager

ROLAND     J.   BOURGEOIS,     JR.   (in      AUSA: Jared H. Fishman
Custody)                                          Mary J. Hahn
                                                  David H Sinkman

Counsel:
Valerie Welz Jusselin, FPD                    U.S. Marshal

                                              U.S. Probation Officer-U.S. Pretrial Services




                                              Special Agent Marycruz Martinez
If you change address,                        Federal Bureau of Investigation
notify clerk of court                         neworleans@ic.fbi.gov
by phone, 504-589-7680
